       6:20-cv-00327-SPS Document 27 Filed in ED/OK on 10/26/20 Page 1 of 10




                      IN THE UNITED STATES DISTRICT COURT FOR THE
                             EASTERN DISTRICT OF OKLAHOMA

 (1)     CHRISTY BAILEY as Personal
         Representative of the Estate of Jeffrey
         Peterson, Deceased.,

         Plaintiff,
 vs.                                                       No. CV-20-327-SPS
 (1)     CITY OF ADA;
 (2)     OFFICER MARCUS BEALE;
 (3)     OFFICER JUSSELY CANADA;
 (4)     OFFICER MICHAEL MEEKS; and
 (5)     OFFICER PHILLIP VOGT

         Defendants.

       ANSWER OF DEFENDANTS CITY OF ADA, OFFICER JUSSELY CANADA,
           OFFICER MICHAEL MEEKS, AND OFFICER PHILLIP VOGT

        COMES NOW the Defendants, (1) City of Ada; (3) Officer Jussely Canada; (4) Officer

Michael Meeks; and (5) Officer Phillip Vogt (collectively hereinafter Defendants), by and through

their attorneys of record, STEIDLEY & NEAL, P.L.L.C., and for their Answer to the Complaint [Doc

2] allege and state as follows:

        1.      Paragraph number one (1) of the Plaintiff’s Complaint is a statement of law which

requires no response from the Defendants.

        2.      Defendants admit paragraph number two (2) of the Plaintiff’s Complaint.

        3.      Defendants admit paragraph number three (3) of the Plaintiff’s Complaint.

        4.      Defendants are without the necessary information to admit or dent the allegations in

paragraph number four (4) of the Plaintiff’s Complaint and therefore, deny the same and demand

strict proof thereof.


                                                   1
     6:20-cv-00327-SPS Document 27 Filed in ED/OK on 10/26/20 Page 2 of 10




        5.      Defendants are without the necessary information to admit or dent the allegations in

paragraph number five (5) of the Plaintiff’s Complaint and therefore, deny the same and demand

strict proof thereof.

        6.      Defendants admit that Marcus Beale, Jussely Canada, Michael Meeks and Phillip

Vogt were police officer employed by the Ada Police Department on September 21, 2019 and that

Plaintiff is suing them in both their official capacity as Ada police officers and individually.

Defendants deny any and all allegations of liability contained in paragraph number six (6) of

Plaintiff’s Complaint and demand strict proof thereof.

        7.      Defendants admit the City of Ada is a municipal corporation within the State of

Oklahoma and that it operates and maintains a law enforcement agency known as the Ada Police

Department. Defendants deny any and all allegations of liability contained in paragraph number

seven (7) of Plaintiff’s Complaint and demand strict proof thereof.

        8.      Defendants admit paragraph number eight (8) of the Plaintiff’s Complaint.

        9.      Defendants admit paragraph number nine (9) of the Plaintiff’s Complaint.

        10.     Defendants are without the necessary information to admit or deny the allegations in

paragraph number ten (10) of the Plaintiff’s Complaint and therefore, deny the same and demand

strict proof thereof.

        11.     Defendants admit that Megan Timmons (sic) called 911 and requested police

assistance regarding recovering her belongings as alleged in paragraph number eleven (11) of the

Plaintiff’s Complaint.

        12.     Defendants admit paragraph number twelve (12) of the Plaintiff’s Complaint.

        13.     Defendants deny paragraph number thirteen (13) of the Plaintiff’s Complaint.


                                                 2
     6:20-cv-00327-SPS Document 27 Filed in ED/OK on 10/26/20 Page 3 of 10




       14.     Defendants deny paragraph number fourteen (14) of the Plaintiff’s Complaint.

       15.     Defendants admit that Defendant Beale did not have a warrant or exigent

circumstances when he and Ms. Timmons first approached the front door as alleged in paragraph

number fifteen (15) of the Plaintiff’s Complaint.

       16.     Defendants deny paragraph number sixteen (16) of the Plaintiff’s Complaint.

       17.     Defendants admit paragraph number seventeen (17) of the Plaintiff’s Complaint.

       18.     Defendants deny paragraph number eighteen (18) of the Plaintiff’s Complaint.

       19.     Defendants deny paragraph number nineteen (19) of the Plaintiff’s Complaint.

       20.     Defendants deny paragraph number twenty (20) of the Plaintiff’s Complaint.

       21.     Defendants deny paragraph number twenty-one (21) of the Plaintiff’s Complaint.

       22.     Defendants admit paragraph number twenty-two (22) of the Plaintiff’s Complaint.

       23.     Defendants deny paragraph number twenty-three (23) of the Plaintiff’s Complaint.

       24.     Defendants admit paragraph number twenty-four (24) of the Plaintiff’s Complaint.

       25.     Defendants admit paragraph number twenty-five (25) of the Plaintiff’s Complaint.

       26.     Defendants deny paragraph number twenty-six (26) of the Plaintiff’s Complaint.

       27.     Defendants deny paragraph number twenty-seven (27) of the Plaintiff’s Complaint.

       28.     Defendants deny paragraph number twenty-eight (28) of the Plaintiff’s Complaint.

       29.     Defendants deny paragraph number twenty-nine (29) of the Plaintiff’s Complaint.

       30.     Defendants deny paragraph number thirty (30) of the Plaintiff’s Complaint.

       31.     Defendants admit paragraph number thirty-one (31) of the Plaintiff’s Complaint.

       32.     Defendants admit paragraph number thirty-two (32) of the Plaintiff’s Complaint.

       33.     Defendants admit paragraph number thirty-three (33) of the Plaintiff’s Complaint.


                                                3
     6:20-cv-00327-SPS Document 27 Filed in ED/OK on 10/26/20 Page 4 of 10




       34.     Defendants admit paragraph number thirty-four (34) of the Plaintiff’s Complaint.

       35.     Defendants admit paragraph number thirty-five (35) of the Plaintiff’s Complaint.

       36.     Defendants deny paragraph number thirty-six (36) of the Plaintiff’s Complaint.

       37.     Defendants deny paragraph number thirty-seven (37) of the Plaintiff’s Complaint.

       38.     Defendants deny paragraph number thirty-eight (38) of the Plaintiff’s Complaint.

       39.     Defendants deny paragraph number thirty-nine (39) of the Plaintiff’s Complaint.

       40.     Defendants deny paragraph number forty (40) of the Plaintiff’s Complaint.

       41.     Defendants admit paragraph number forty-one (41) of the Plaintiff’s Complaint.

       42.     Defendants admit paragraph number forty-two (42) of the Plaintiff’s Complaint.

       43.     Defendants deny paragraph number forty-three (43) of the Plaintiff’s Complaint.

       44.     Defendants deny paragraph number forty-four (44) of the Plaintiff’s Complaint.

       45.     Defendants deny paragraph number forty-five (45) of the Plaintiff’s Complaint.

       46.     Defendants deny paragraph number forty-six (46) of the Plaintiff’s Complaint.

       47.     Defendants admit paragraph number forty-seven (47) of the Plaintiff’s Complaint.

       48.     Defendants admit that Garrett Peterson died but deny the remaining allegations in

paragraph number forty-eight (48) of the Plaintiff’s Complaint.

       49.     Defendants deny paragraph number forty-nine (49) of the Plaintiff’s Complaint.

Defendant Meeks first yelled that Garrett Peterson was going after Defendant Beale’s gun and then

that Peterson was going after his gun.

       50.     Defendants deny paragraph number fifty (50) of the Plaintiff’s Complaint.

       51.     Defendants deny paragraph number fifty-one (51) of the Plaintiff’s Complaint.

       52.     Defendants deny paragraph number fifty-two (52) of the Plaintiff’s Complaint.


                                                4
     6:20-cv-00327-SPS Document 27 Filed in ED/OK on 10/26/20 Page 5 of 10




        53.     Defendant City admits that this is Defendant Beale’s second officer involved shooting

but are without sufficient information to admit or deny the remaining allegations in paragraph

number fifty-three (53) of Plaintiff’s Complaint and therefore, deny the same and demand strict proof

thereof.

        54.     Defendants are without sufficient information to admit or deny the allegations in

paragraph number fifty-four (54) of Plaintiff’s Complaint and therefore, deny the same and demand

strict proof thereof.

        55.     Defendants deny paragraph number fifty-five (55) of the Plaintiff’s Complaint.

        56.     Defendants deny paragraph number fifty-six (56) of the Plaintiff’s Complaint.

        57.     Defendants deny paragraph number fifty-seven (57) of the Plaintiff’s Complaint.

        58.     Defendants deny paragraph number fifty-eight (58) of the Plaintiff’s Complaint.

        59.     Defendants deny paragraph number fifty-nine (59) of the Plaintiff’s Complaint.

        60.     Defendants deny paragraph number sixty (60) of the Plaintiff’s Complaint.

        61.     Defendants deny paragraph number sixty-one (61) of the Plaintiff’s Complaint.

        62.     Paragraph number sixty-two (62) of the Plaintiff’s Complaint requires no response.

        63.     Defendants deny paragraph number sixty-three (63) of the Plaintiff’s Complaint.

        64.     Defendants deny paragraph number sixty-four (64) of the Plaintiff’s Complaint.

        65.     Defendants deny paragraph number sixty-five (65) of the Plaintiff’s Complaint.

        66.     Defendants deny paragraph number sixty-six (66) of the Plaintiff’s Complaint.

        67.     Defendants deny paragraph number sixty-seven (67) of the Plaintiff’s Complaint.

        68.     Defendants deny paragraph number sixty-eight (68) of the Plaintiff’s Complaint.

        69.     Defendants deny paragraph number sixty-nine (69) of the Plaintiff’s Complaint.


                                                  5
    6:20-cv-00327-SPS Document 27 Filed in ED/OK on 10/26/20 Page 6 of 10




       70.   Paragraph number seventy (70) of the Plaintiff’s Complaint requires no response.

       71.   Defendants deny paragraph number seventy-one (71) of the Plaintiff’s Complaint.

       72.   Defendants deny paragraph number seventy-two (72) of the Plaintiff’s Complaint.

       73.   Paragraph number seventy-three (73) of the Plaintiff’s Complaint requires no

response.

       74.   Defendants deny paragraph number seventy-four (74) of the Plaintiff’s Complaint.

       75.   Defendants deny paragraph number seventy-five (75) of the Plaintiff’s Complaint.

       76.   Defendants deny paragraph number seventy-six (76) of the Plaintiff’s Complaint.

       77.   Defendants deny paragraph number seventy-seven (77) of the Plaintiff’s Complaint

       78.   Paragraph number seventy-eight (78) of the Plaintiff’s Complaint requires no

response.

       79.   Defendants deny paragraph number seventy-nine (79) of the Plaintiff’s Complaint.

       80.   Defendants deny paragraph number eighty (80) of the Plaintiff’s Complaint.

       81.   Defendants deny paragraph number eighty-one (81) of the Plaintiff’s Complaint.

       82.   Defendants deny paragraph number eighty-two (82) of the Plaintiff’s Complaint.

       83.   Defendants deny paragraph number eighty-three (83) of the Plaintiff’s Complaint.

       84.   Paragraph number eighty-four (84) of the Plaintiff’s Complaint requires no response.

       85.   Defendants admit paragraph number eighty-five (85) of the Plaintiff’s Complaint.

       86.   Defendants admit paragraph number eighty-six (86) of the Plaintiff’s Complaint.

       87.   Defendants deny paragraph number eighty-seven (87) of the Plaintiff’s Complaint.

       88.   Defendants deny paragraph number eighty-eight (88) of the Plaintiff’s Complaint.

       89.   Defendants deny paragraph number eighty-nine (89) of the Plaintiff’s Complaint.


                                              6
      6:20-cv-00327-SPS Document 27 Filed in ED/OK on 10/26/20 Page 7 of 10




        90.    Paragraph number ninety (90) of the Plaintiff’s Complaint requires no response.

        91.    Defendants admit paragraph number ninety-one (91) of the Plaintiff’s Complaint.

        92.    Defendants deny paragraph number ninety-two (92) of the Plaintiff’s Complaint.

        93.    Defendants admit paragraph number ninety-three (93) of the Plaintiff’s Complaint.

        94.    Defendants deny paragraph number ninety-four (94) of the Plaintiff’s Complaint.

        95.    Defendants deny paragraph number ninety-five (95) of the Plaintiff’s Complaint.

                                  AFFIRMATIVE DEFENSES

        1.     The injuries and/or damages alleged in Plaintiff’s Complaint were caused in whole

or in part by the culpable conduct, want of care and assumption of risk on the part of the Plaintiff’s

decedent, without fault or want of care on the part of the Defendants.

        2.     The conditions created by the Plaintiff’s decedent were the proximate cause of his

alleged injuries and/or damages, if any.

        3.     Plaintiff’s damages, if any, are the result of causes not related to the incident in

question.

        4.     Plaintiff has failed to state a claim upon which relief may be granted.

        5.     Consent.

        6.     Defendant Ada cannot be held liable for any constitutional violation from the acts of

its agents, servants or employees under the doctrine of respondeat superior and /or vicarious

liability.

        7.     Defendant Ada has not executed, nor implemented, any policy or procedure which

can be found in any ordinance, regulation, policy statement or decision officially adopted by the




                                                  7
     6:20-cv-00327-SPS Document 27 Filed in ED/OK on 10/26/20 Page 8 of 10




governmental entity, or found in a pattern of persistent practices known to and approved by the

municipality that would be considered unconstitutional.

       8.      Plaintiff has failed to set forth any allegation which would create a material issue of

fact as to the requisite culpable state of mind of deliberate indifference on behalf of Defendant Ada.

       9.      Defendant Canada, Meeks and Vogt are entitled to qualified immunity.

       10.     Defendant Ada is immune from punitive or exemplary damages in any action for

damages.

       11.     Exigent Circumstances.

       12.     Comparative Negligence.

       13.     Probable cause existed for the Plaintiff decendent’s arrest and/or detention.

       14.     There was reasonable suspicion for the plaintiff's detention/arrest.

       15.     Defendants reserve the right to add to or amend this Answer until the time of the

Pretrial Conference.

       16.     Defendant Ada and all of its employees acting within the scope of their employment

are immune from suit under the doctrine of sovereign immunity and waive this immunity only to the

extent and manner provided by the Governmental Tort Claims Act. OKLA. STAT. tit. 51, §152.1.

       17.     Defendant Ada may not be held liable for more than $125,000.00 under the provision

of the Governmental Tort Claims Act to any claimant for any other loss arising out of a single

accident or occurrence. OKLA. STAT. tit. 51, §154(A)(2).

       18.     Pursuant to OKLA. STAT. tit. 51, §155, Defendants shall not be held liable if a loss of

claim results from:




                                                  8
6:20-cv-00327-SPS Document 27 Filed in ED/OK on 10/26/20 Page 9 of 10




       1.     Adoption or enforcement or failure to adopt or enforce a law, whether valid
              or invalid, including, but not limited to, any statute, charter provision,
              ordinance, resolution, rule, regulation, or written policy;

       2.     Performance of or the failure to exercise or perform any act or service which
              is in the discretion of the state or political subdivision or its employees;

       3.     The method of providing police, law enforcement or fire protection;

       4.     Acts or omissions done in conformance with then current recognized
              standards;

       5.     Any claim which is limited or barred by any other law.

 19.   Discovery is ongoing.

 20.   Defendant Ada reserves the right to add to or amend this Answer until the time of the

       Pretrial Conference.



                                     Respectfully submitted,

                                     STEIDLEY & NEAL, P.L.L.C.
                                     Attorneys for Defendants


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                                         9
6:20-cv-00327-SPS Document 27 Filed in ED/OK on 10/26/20 Page 10 of 10




                               Certificate of Service

   X    I hereby certify that on the 26th day of October 2020, I electronically transmitted the
        attached document to the Clerk of Court using the ECF System for filing. Based on
        the records currently on file, the Clerk of Court will transmit a Notice of Electronic
        Filing to the following ECF registrants:

        Jack Mattingly, Jr.                    jackjr@mroklaw.com
        Jarrett Adams                          jadams@jarrettadamslaw.com
        Jeanette Samuels                       sam@chicivilrights.com


        I hereby certify that on the ____ day of October 2020, I served the attached document
        by U.S. Mail, postage fully prepaid, on the following who are not registered
        participants of the ECF System:


                                                    s/Sean M. McKelvey
                                                      of Steidley & Neal, P.L.L.C.




                                          10
